                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


UNITED STATES OF AMERICA,                                    )
                                                             )
v.                                                           )     No. 3:04-CR-75
                                                             )     (Phillips)
CHANCE WADE                                                  )


                                            ORDER

              This matter came before the court on defendant’s motion for a

recommendation that he be transferred from the Federal Prison Camp in Pensacola,

Florida, to the United States Penitentiary in McCreary, Kentucky [Doc. 220]. As grounds

for his motion, defendant states that his parents, as well as his fiancee, live in Knoxville.

In addition, defendant’s father suffers from multiple health conditions that make it extremely

difficult for him to travel to Pensacola to see defendant, so defendant requests that he be

transferred to a facility closer to Knoxville.



                Accordingly, for the good shown, defendant’s motion [Doc. 220] is

GRANTED, and the court RECOMMENDS to the Bureau of Prisons that defendant be

transferred to the BOP facility in McCreary, Kentucky.




                                            ENTER:


                                                      s/ Thomas W. Phillips
                                                    United States District Judge


 Case 3:04-cr-00075       Document 222           Filed 02/22/07   Page 1 of 1      PageID #: 60
